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 1   DAN KOUKOL
     Attorney at Law
 2   State Bar No. 122526
     11930 Heritage Oak Place, Suite 6
 3   Auburn, California 95603
     Telephone: (530) 823-5400
 4   Facsimile: (530) 852-0150
     Email: dkoukol@placergroup.com
 5
     Attorney for Defendant,
 6   CUONG LE

 7
                                THE UNITED STATES DISTRICT COURT
 8                           FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                         CASE NO. 2:08-CR-00449-WBS-5

11              Plaintiff,                             ORDER TO EXONERATE BOND

12        vs.

13   CUONG LE,

14              Defendant.

15

16          The Court finds that Mr. Le was released pursuant to a $100,000.00 property bond which

17   he posted to the Clerk of the Court. On September 6, 2011, Mr. Le entered a guilty plea to Count

18   1 of the Indictment subject to Rule 11(c)(1)(C). On April 8, 2013, the Court sentenced Mr. Le to

19   imprisonment for a term of 46 months on Count 1. Mr. Le surrendered to the custody of the

20   Bureau of Prisons on June 4, 2013.

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      Case 2:08-cr-00449-WBS Document 240 Filed 07/24/13 Page 2 of 3


 1          Therefore, it is hereby ORDERED that the $100,000.00 property bond posted in this case

 2   is ordered exonerated and the Clerk of the Court is directed to reconvey to the sureties, Cuong T.

 3   Le and Kun A. Lo. See Exhibit A for Legal Description of Real Property posted on behalf of Mr.

 4   Le.

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 6   Dated: July 24, 2013

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 1                                            Exhibit A

 2          Lott 111, as shown on the map entitled “Countrywide Unit No. 4-B, A portion of Parcel

 3   2,94 P.M. 31” Recorded July 22, 1997, In Book 177 of Maps, Page 2.

 4          Assessors Parcel Number:115-0870-027

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